Case: 1:17-Cv-O4902 Document #: 56-2 Filed: 02/27/18 Page 1 of 6 Page|D #:778

Plaintiffs Exhibit 2

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COUNTY or cook )

AF'Fanvl'r

 

l, JILL ANTONUCCI wi~lrrE, having been duly segman `,'oa`rh,;ne.pose and states as
follower l l `
l. l am the supervising paralegal in the F ederal Civil Rights Litigation Division of the
City of Chicago’s l.,aw Dep§rtment, and has been working in that capacity for 16 yenrs.
2. One of my responsibilities is to supervise a staff of 6 paralegals who prepare
documents for production requests received by the Division’s attorneys in the course of Section
1983 litigationl including the case ol" Duprey v. City of Ckicago, et gl., 15 _C__l l l. 'l`his includes

scanning, bates-stamping providing confidentiality.stamps;;§wl}ere appropriete, and making basic

  

redactions.

3. lncluded among such documents are what are regularly referred to as Police Officer

“Complainl; Register” Files, or “CRs.” Unlik_e: regular one-to»ten;page documents a CR tile is a

 

' full investigative file compiled ol` many doeurnents, usually:.::`averaging, based upon my
experience anywhere from 50 to 150 pages long`. Some, involving more extensive
investigations arc literally liundreds of pages long. Most files also have numerous media
attachments m the form of GDS and D\/ 135 v

4. ll.` a 14`reedom of Information Act (FOIA) request is received by the City, we, along
with the £/hicago Police Deparnnent, the Independent Review Authority, and other departments
that handle law~en'forcement:-related documentation use the attached “Attachment B"’ FOIA
redaction guidelines that ha\:ze been developed since the recent Kalven.l_llinois Appellate Court
decision, which lifted the blenket confidentiality coverage -for`CR.ii`les, to ensure that the
extensive confidential information still recognized under FOIA and still contained Within those

ellen large files arc still promoted from public dissemination Tlms protects the privacy and the

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safety and security ot` the co§mplainants, juveniles, third party witnesses and officers involved, as
well us prevents against identity theft

5. Although our D'lvisior1 is not the City-Department that normally handles FOIA
requests, we have been charged with fulfilling the City’s FOIA legal obligations when requests
for public dissemination ofCRs obtained in pre-trial discovery are received by our office
pursuant to our otlice’s model protective order, which now provides, pursuant to Kalven, for a
reasonable public release procedure for CR files produced in discovery, when such dissemination
is requested "l`his is a very lcdious and labor~intensive job for such large files Nearly each and
every page ol" the tile contains redactions, and each must be reed incontext to ensure, among
other requirements, personal identifying information is properly redacted On average, our office
is able to FOIA~screen about 5 CR liles per week, depending on length and our other pending
cases Voluminous requests to F`OlA»screcn in excess of.SGO pages severely hamper the
operations ol`our ofiice. When immediate simultaneous public relense of numerous liles are
requested, such as when a number olt` defendants are identified in a case who have all been on the
police force for some time or worse, when there 1S a Moneli claim involving sometimes
hundreds or even thousands§ of such nies at issuc, it becomes simply unworkable, and the
protections that FOIA is demgned to ensure cannot be fulfilled Within such a timeline. Literally,
tens of thousands oi`pages can be involved in a Monell case § l

6. l~lence, a requirement for “contemporaneous”` v'FO_lA-screer.t-ing (designations ol`
specific redactions) of such bomplete CR files immediately upon production in pre~trial
discovery will require the double production (two versions) of each:'l`il§e, one for litigation
purposes and one for publicdissemination. Undcr such a scenario, without initial conditional
protection provided to the (‘R tiles at issue, the unredacted (non“FOlA) litigation format version
cannot be produced in discovery until the l"`OIA version is completed I~Ience, production of such
discovery must therefore heidelayed, subject to the oftice’s-'abi-lity to fully FOIA-screen all such
files to l`ullill its legal oblige tions. ’l`his can only be achieved§,'§as stated above,¢»on a long~tenn

rolling basis, taking considerable time and effort, sometimes:mnnerousw`eeks, il` not numerous

 

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months or more especially in the Monell contextl 'lnstead, the City’s proposed protective order,
which we have been using very successfully over the last six months, allows for immediate

facilitation of full discovery with conditional protection to the files, and allows our office to

 

manage smallcr. :l:`ocuscd, non~voluminous requests for public dissemination of a few specific
tiles, on a rolling basis, as aptually needed by plaintiffs counself"£ln fact, very few plaintiffs’
counsel have even requested such public dissemination ot-',CR:liles received in pre-trial discovery
from our office since the public release procedure for CRs has been included in the City’s
proposed protective orders, pursuant to the Xalven decision

7. ()n behalf of all our staff of paralegals at the Federal Civil'Rights.Litigation Division
of the City oi` Chicago’s Law Depaitment, we ask the Court’s indulgence in this very important
issue for us, and that it not require “contemporaneous” FOI'A rcdnedons for CR liles at time of
pre-trial discovery productidn, and approve the City°s practical, workable.and reasonable public

release procedure l`or C`R. liles.

li`UR'l"l~lER Alil~"lAN'l" SAYETH NOT.

 

 

Federal Civil Rights Litigation Division
City of Chicago' Departrnent of Law

SUBSCRIBllD and SWORN to
before me this&zl}yday

   

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lTEM TO REDACT EX£MP:"ON

Names of civilian witnesses _ 5 lLCS":lAO/?(i)'(di(iv)
Names of civilian CR complainants 5 lLCS`l40/7(ij(d)(iv)
Narnes of confidential sources and information that can 5'!LCS_.140f7(1)(d)(iv)
lead to the identification of them

Confidential information from confidential sources 5 lLCS 140/7(1)(d)(iv)

 

Names of crime victims (unles

s they are deceased)

s iLcs 140?7(1)(¢:); s itcs 140/7(1)(d)(iv)

 

Narnes of non“attorneys and ron-government employees

who are tangential to the incit

ient (i.e., not Witnesses)

l 5 lLCS 140/7(1)(€}

 

Dates of birth

5 lL€S -140}7(1)(¢) (=Note: the year of birth
and-age should m be redacted)

 

Personai telephone numbers (

residential and mobile/cell)

:_s. cites 140/7(1}(.5); 5 ircs 140/7(1)(¢1)(:\/

 

Personal email addresses

5 lLCS 340/7{§1)(¥)); 5 lLCS 140]7(1){d){iv

 

incident address when it is a h

ome address

 

Home addresses

5 ll.CS 140[7(1)(15)'; 5 lLCS 140/7(1)(d)(iv

 

information that could reveal

 

3 home address

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l
5 itcs 14017<1)(:1); s itcs 140/7(1)(d).(iv)
l
l

5 lLCS 146/7(1)(!1), 5 lLCS 140/7(1)(d)(iv

 

Social Security numbers of others

5 litCS dwi? (tt~)}(a - lllinois identity

detection Act 5 itcs 179/10111)(1); s itcs
140/711)11>), s itcs 140/7<1)(1~); s itcs
MG/?ii)(d)llv)

 

Driver’s l_icense numbers

5 lLCS 140/7(1}(b); 5 lLCS l40/7(1)(d)(iv)

 

Personal license plate numbers

 

' 5:l_l-.CS 140/7(1)(b); 5 ll.CS 140;’7(1)(d}(iv)

 

lR numbers of victims and witnesses

s iLcs 140/7(11)(11); s nos 140/7(1){¢); 5 \Lcs
140/7(.1)l-dlllvi_

 

Employee identification numbers

_s iLcs. 110/vinton

 

Signatures of non-government employee witnesses

victims and complainants

5 lLC$»f.tA.O/‘/’(lj(b) - biometric identifier

 

Passwords or other access codes

s luis 140/7`(1€):('b)

 

Attorney»client communications, materials created at the

direction of an attorney (e.g.

, internal memoranda)

5 itc§;.f;t¢io/»“/(im)-

 

l\/ledical records

s ircs 140/711.>(5)

 

OEMC records related to med

ical treatment (e'.g.,

ambulance run sheets and EMS records)

_ 5 lLCS'140/7(1)(a-) - HlPAA, 5 ll.CS

140/7('1)(§.)

 

Medical psychiatric, counseling and substance abuse

information summary

s:itcs__:uiol"/l$_llcl

 

 

Juvenile law enforcement records

5 lLC-$'ii_40/7(1`}ia) -Juvenile Court Act 705 1
lLCS 405/1~ 7; 705 lLCS 405/5~ 905

 

Financial account numbers

 

5 lLCS 140/7(1)(b), 5 lLCS 140/7(1)(£); 5 lLCS
140/7(1)(€|)(iv)

 

 

 

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Credit/Debit card numbers

~ 5~ itcs 140/7(1)(11); s itcs 140/7(1)(¢); s iLcs

140/7(1)(di.(ivl’

 

Photographs of victims and CR complainants

5 ~lLCS 140/7(1.)(€); 5 ILCS 140/7(1)(d)(iv); 5
iLcs'taop(;s)iai(vi)

 

Photographs that are graphic in nature

5 itcs '1140/7(1§(¢)

 

Pen°ormance evaluations

5 lLCS l40/7(;Li(a) - P.ersonnel Records

'Revietl§r Act 820 lLC$ 40/11 l

 

Comrnand Channei Revievv

s itcs "'140/7('1§"(6

 

 

 

 

information which is subject to a court order on an active 5 iLCS 140/7(1){3)
case (e.g., a protective order) v

information the release of Whicli would interfere with a 5 iLCS 140/7(1)(6)(&)
pending investigation '

information the release of which Would obstruct an

ongoing criminal investigation

5 lL'CS 140}7('1)(d}(vii)

 

information the release of»which would endanger the
life/physical safety of Police personnel or another

s iLcs 140/7(1)(¢)(vii.

 

information the release of which would interfere with
legal action related to the investigation

s itcs 14a/vintage ~ ir ais;ipiinary
proceeding against officers 5 iLCS
140/?i31§id)(iii)»~ it_prosecu=tion of officer

 

Unique or specialized investigative techniques

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May prevent a fair trial itaint a jury pooi)

 

 

 

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